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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
FRANK SOWERS                      )             (WO)

                              JUDGMENT

    In accordance with the memorandum opinion entered

this date, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) Defendant Frank Sowers's objections (Doc. Nos.

         1905 & 1906) are overruled.

    (2) The       United       States       Magistrate         Judge's

         recommendation (Doc. No. 1904) is adopted.

    (3) Defendant       Sowers’s      motion     for    relief     from

         judgment (Doc. No. 1900) is denied.

    DONE, this the 9th day of August, 2007.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
